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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
No. 20-CV-02325 (WMW/KMM)

Ericka KHOUNEDALETH,
Plaintiff,
Vv.

CITY OF MINNEAPOLIS, a
municipal entity; Officer DOE
#1, in their individual and
official capacity; and Officer
DOE #2, in their individual and
official capacity,

Defendants.

)

)

)  PLAINTIFF’S

) ACCEPTANCE OF
) DEFENDANTS’
) OFFER OF

) JUDGMENT

) UNDER FED. R.
) CIV. P. 68

)

)

)

Plaintiff accepts Defendants’ Offer of Judgment under Fed. R. Civ. P.

68 (dated Feb. 18, 2022).

DATED: February 22, 2022

Respectfully submitted,

/s/ Nico Ratkowsk1

NICO RATKOWSKI

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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
No. 20-CV-02325 (WMW/KMM)
Ericka KHOUNEDALETH, )
)
Plaintiff, )
)
Vv. ) PROOF OF
) SERVICE
CITY OF MINNEAPOLIS, a )
municipal entity; Officer DOE #1, )
in their individual and official )
capacity; and Officer DOE #2, in )
their individual and official )
capacity, )
)
Defendants. )

I certify that, on Feb. 22, 2022, I served upon Defendants’ counsel the
foregoing Acceptance of Defendants’ Offer of J udgment Under Fed. R. Civ. P.
68 by mailing the same via USPS certified mail to:

Sharda Enslin
Office of the City Attorney

350 S. Fifth St., Room 210
Minneapolis, MN55415

Date: Feb. 22, 2022 /s/ Stephanie Nevaez Ramirez

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